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                        IN THE UNITED STATES BANKRUPTCY COURT
                             FOR THE DISTRICT OF DELAWARE

In re:                                                      Chapter 11

LORDSTOWN MOTORS CORP., et al.,1                            Case No. 23-10831 (MFW)

                        Debtors.                            (Jointly Administered)


                                      CERTIFICATE OF SERVICE

         I hereby certify that on the 1st day of February, 2024, I caused to be filed with the Court

electronically, and I caused to be served a true and correct copy of the Fourth Monthly Fee

Application of Brown Rudnick LLP, as Counsel for the Official Committee of Equity Security

Holders of Lordstown Motors Corp., et al., for Allowance of Interim Compensation and for

Reimbursement of Disbursements Incurred for the Period from December 1, 2023 through

December 31, 2023 upon the parties that are registered to receive notice via the Court’s CM/ECF

notification system, and additional service was competed via electronic mail or first class mail on

the parties listed on the attached service list.

                                                               /s/ Eric J. Monzo
                                                               Eric J. Monzo (DE Bar No. 5214)




1
 The Debtors and the last four digits of their respective taxpayer identification numbers are: Lordstown Motors Corp.
(3239); Lordstown EV Corporation (2250); and Lordstown EV Sales LLC (9101). The Debtors’ service address is
27000 Hills Tech Ct., Farmington Hills, MI 48331.


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                                          Service List

 Adam Kroll                                        Benjamin Hackman, Esq.
 Lordstown Motors Corporation                      Office of The United States Trustee
 27000 Hills Tech Ct.                              for the District of Delaware
 Farmington Hills, MI 48331                        844 King Street, Suite 2207
                                                   Wilmington, DE 19801
 Debtors                                           E-mail: Benjamin.a.hackman@usdoj.gov


 Donald J. Detweiler, Esq,                         Office of The United States Trustee
 Morgan L. Patterson, Esq.
 Womble Bond Dickinson (US) LLP
 1313 North Market Street, Suite 1200
 Wilmington, Delaware 19801
 E-mail: don.detweiler@wbd-us.com
 morgan.patterson@wbd-us.com

 and

 David M. Turetsky, Esq.
 White & Case LLP
 1221 Avenue of the Americas
 New York, NY 10020
 E-mail: david.turetsky@whitecase.com

 and

 Fan B. He, Esq.
 White & Case LLP
 200 South Biscayne Boulevard
 Suite 4900
 Miami, FL 33131
 E-mail: fhe@whitecase.com

 Counsel to the Debtors




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